Case 4:24-cr-00057-GKF Document 7 Filed in USDC ND/OK on 02/09/24 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

United States of America
Plaintiff(s),
vs. Case No.:4:24-mj-094-SH
Morgan Womack Criminal Information Sheet
Defendant(s).
Interpreter: Yes OD No O
Date: 2/9/2024
LON Ler

Magistrate Judge Huntsman Deputy Dusty-Gross USPO C. Brown

Date of Arrest: 2/8/2024 Arrested By: DEA Detention Requested by AUSA
Bail Recommendation: L] Unsecured
Additional Conditions of Release:

Oa Ob. Om On Oo OpOg UOrds

Oe Od. Oe Of. Og. Or (01, 02, 03, 04, 05, 06,07)

Oh OF. Oj. Ou (1, 02, 03, 04, 05, 06 07)

Ok. (Oi, O ii, O iii) Ov 1, 02, 03, 04 05, 06,07, 08, 09, 0 10)

Ol Ow (01, 02) O xX. (other)
Defendant Requests Federal Public Defender/Ct. Appt. Counsel: [J Yes [J No
Defendant's Attorney: Craig Hoehns LC FPD; NK Ct. Appt; LJ Ret Counsel
AUSA: Adam Bailey
MINUTES:
Interpreter: ; 0 Sworn

Defendant appears in person for IA on: (7 Indictment; CJ Information; ‘et Complaint; © Petition; O Rule 5
Wf, with: © Ret Counsel; © FPD; Xl Ct. Appt; M w/o Counsel
Fin

ancial Affidavit received and FPD/CJA appointed; resent J Not Present
Defendant’s name as reflected in the indictment/information/complaint/petition/Rule 5 is the true and correct legal name:
ene in open court
(7 Corrected by interlineation to Moa ON, (ple WW OVW’ GON
to reflect Defendant’s true and correct name‘and all previous filings ar are amended by interlineation to reflect same.

CO Unable to verify in open court: 1 U.S. Atty. to verify & advise court; [ Defendant’s Attorney to verify & advise
court;

Waivers executed and filed: © of Indictment; Wor Preliminary Exam; 7) of Detention Hearing; 1) of Rule 5 Hearings

7) Bond set for ; Bond and conditions of release executed

J Government’s Motion for Detention and Detention Hearing filed in open court

©) Arraignment held and Defendant pleads Not Guilty; Court accepts plea; (J Scheduling dates to be mailed to counsel

J Initial Appearance continued to: at a.m./p.m.

CJ Arraignment scheduled: a.m./p.m.

ec Hearing scheduled: A I3 ] AY at «2 00 a.m @m)

CJ Preliminary Exam scheduled: t a.m./p.m.

W etendan remanded to custody of U.S. Marshal: Pending further voce C1) Pending release on bond for treatment
Mot. for Detention # 3: Granted; Denied; M Moot Mot. for Hearing # “Whit: OJ Denied; O Moot

Additional Minutes: +heCuron (e: CONS LA, Dagan ons Pu iMA
MH, ae ac SJ] OQ Qen

Criminal Information Sheet CR-24 (11/2020)
